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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


PROVEN NETWORKS, LLC.,

                       Plaintiff,                     Case No. 6:20-cv-00338

               v.                                     JURY TRIAL DEMANDED

SOLARWINDS CORP.,

                       Defendant.



                       COMPLAINT FOR PATENT INFRINGEMENT
                           AGAINST SOLARWINDS CORP.

       This is an action for patent infringement arising under the Patent Laws of the United States

of America, 35 U.S.C. § 1 et seq., in which Plaintiff Proven Networks, LLC (“Plaintiff” or “Proven

Networks”) makes the following allegations against Defendant SolarWinds Corp. (“Defendant”):

                                        INTRODUCTION

       1.      This complaint arises from Defendant’s unlawful infringement of United States

Patent No. 8,165,024 (the “’024 Patent” or the “Asserted Patent”), owned by Proven Networks,

which generally relates to data networking technology.

       2.      The management and optimization of data flow in networking systems is essential

in modern society. Not only do computers, smartphones, and home automation devices operating

via the Internet generate data traffic, but basic technology such as voice services and file transfers

do as well. The enormous increase in multimedia content, such as videos, has greatly increased

data traffic without proportional increases in data bandwidth. One problem caused by the large

consumption of high-bandwidth multimedia content is that more important data, including

relatively low-bandwidth services such as voice services and data transfers (e.g., financial data),


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can suffer due to lack of bandwidth, resulting in dropped calls and incomplete file transfers.

Optimization of data traffic in data networks has become even more important in order to navigate

the bandwidth limitations.

       3.      The Asserted Patent originated from telecommunications and wireless networking

research from Alcatel-Lucent. The inventors were keenly aware of the increase of high-bandwidth

applications such as video, especially in wireless and mobile networks, and sought to develop

technology to maintain acceptable performance for as many users, for as long as possible, under

varying and adverse data traffic conditions.

       4.      For example, the ’024 Patent teaches the use of a “deep packet inspection” device,

especially in wireless networks, to examine the characteristics of data packets passing through the

network in order to provide classification data to the data packets for downstream application-

specific processing.

                                               PARTIES

       5.      Plaintiff Proven Networks, LLC is a company organized under the laws of the State

of California. Proven Networks is the sole owner by assignment of all right, title, and interest in

each Asserted Patent.

       6.      On information and belief, Defendant SolarWinds Corp. is a corporation organized

under the laws of the State of Delaware, with its principal place of business at 7171 Southwest

Parkway, Building 400, Austin, Texas 78735.

                                JURISDICTION AND VENUE

       7.      This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).




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        8.      This Court has personal jurisdiction over Defendant in this action because

Defendant has committed acts within this District giving rise to this action, and has established

minimum contacts with this forum such that the exercise of jurisdiction over Defendant would not

offend traditional notions of fair play and substantial justice. Defendant, directly and through

subsidiaries or intermediaries, has committed and continues to commit acts of infringement in this

District by, among other things, making, using, importing, offering to sell, and selling products

that infringe the Asserted Patent.

        9.      Venue is proper in this District under 28 U.S.C. § 1400(b). Defendant is registered

to do business in Texas, and upon information and belief, Defendant has transacted business in

this District and has committed acts of direct and indirect infringement in this District by, among

other things, importing, offering to sell, and selling products that infringe the Asserted Patent.

Defendant has a regular and established place of business in the District, including corporate

offices at 7171 Southwest Parkway, Building 400, Austin, Texas 78735.

                                             COUNT I

                      INFRINGEMENT OF U.S. PATENT NO. 8,165,024

        10.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        11.     Plaintiff owns by assignment all rights, title, and interest in U.S. Patent No.

8,165,024, titled “Use of DPI to Extract and Forward Application Characteristics.” The ’024 Patent

was duly and legally issued by the United States Patent and Trademark Office on April 24, 2012.

A true and correct copy of the ’024 Patent is attached as Exhibit 1.

        12.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports certain products (“Accused Products”), such as the Solarwinds Network Performance




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Monitor (NPM) solution, that directly infringe, literally and/or under the doctrine of equivalents,

claims 1–25 of the ’024 Patent.

       13.      Defendant also knowingly and intentionally induces infringement of claims 1–25

of the ’024 Patent in violation of 35 U.S.C. § 271(b). At least through the filing and service of this

Complaint, Defendant has knowledge of the ’024 Patent and the infringing nature of the Accused

Products. Despite this knowledge of the ’024 Patent, Defendant continues to actively encourage

and instruct its customers and end users (for example, through user manuals and online instruction

materials on its website) to use the Accused Products in ways that directly infringe the ’024 Patent.

Defendant does so knowing and intending that its customers and end users will commit these

infringing acts. Defendant also continues to make, use, offer for sale, sell, and/or import the

Accused Products, despite its knowledge of the ’024 Patent, thereby specifically intending for and

inducing its customers to infringe the ’024 Patent through the customers’ normal and customary

use of the Accused Products.

       14.      The Accused Products satisfy all claim limitations of claims 1–25 of the ’024

Patent. A claim chart comparing independent claim 1 of the ’024 Patent to the representative

Accused Product, Solarwinds Network Performance Monitor (NPM) solution, is attached as

Exhibit 2.

       15.      By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured Plaintiff and is liable for infringement of the ’024

Patent pursuant to 35 U.S.C. § 271.

       16.      As a result of Defendant’s infringement of the ’024 Patent, Plaintiff is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no




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event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

        17.      Defendant’s infringing activities have injured and will continue to injure Plaintiff

unless and until this Court enters an injunction prohibiting further infringement of the ’024 Patent,

and, specifically, enjoining further manufacture, use, sale, importation, and/or offers for sale that

come within the scope of the patent claims.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter:

        a.       A judgment in favor of Plaintiff that Defendant has infringed, either literally and/or

under the doctrine of equivalents, the ’024 Patent;

        b.       A permanent injunction prohibiting Defendant from further acts of infringement of

the ’024 Patent;

        c.       A judgment and order requiring Defendant to pay Plaintiff its damages, costs,

expenses, and pre-judgment and post-judgment interest for Defendant’ infringement of the ’024

Patent; and

        d.       A judgment and order requiring Defendant to provide an accounting and to pay

supplemental damages to Plaintiff, including without limitation, pre-judgment and post-judgment

interest;

        e.       A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees against Defendant; and

        f.       Any and all other relief as the Court may deem appropriate and just under the

circumstances.




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                                  DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.




Dated: April 28, 2020                        Respectfully submitted,

                                             /s/ Reza Mirzaie

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